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             11
                                               UNITED STATES DISTRICT COURT
             12
                                              EASTERN DISTRICT OF CALIFORNIA
             13
                                                    SACRAMENTO DIVISION
             14

             15
                  RALPH COLEMAN, et al.,                            Case No. 2:90-CV-00520- KJM-DB
             16
                                Plaintiffs,                         DEFENDANTS’ MOTION FOR
             17                                                     RECONSIDERATION PER AUGUST 3,
                         v.                                         2020 ORDER REGARDING SPECIAL
             18                                                     MASTER’S MATERIAL
                  GAVIN NEWSOM, et al.                              MODIFICATION DETERMINATION
             19
                                Defendants.
             20                                                     Judge:    Hon. Kimberly J. Mueller

             21 I.       INTRODUCTION
             22          Due to fundamental disagreement about what constitutes a “material modification” of the
             23 Program Guide, the Special Master has thwarted Defendants’ ability to efficiently implement

             24 policy changes which actually increase the level of care provided to the Plaintiff class, and which

             25 changes are actually “welcome[d]” and “support[ed]” by Plaintiffs’ counsel. Without additional

             26 guidance from the Court, this disagreement will likely be the first of many, and will surely impede

             27 Defendants’ ability to further improve mental health care delivered to the Plaintiff class. To avoid

             28 wasteful and time-consuming litigation, Defendants ask the Court to adopt a definition of material

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              1 modification that is both practicable and also focused on furthering the goal of the Program

              2 Guide—providing constitutionally adequate mental health care.

              3 II.      FACTUAL BACKGROUND
              4          At issue in this Motion for Reconsideration (“Motion”) is the “Revision of Mental Health

              5 Crisis Bed Discharge Custody Checks Form and Introduction of Audit Requirement”

              6 memorandum (“Memo”). The Memo expands custody checks to include all patients who have

              7 been discharged from any inpatient program or alternative housing after being admitted for

              8 suicidality. (Decl. of Travis Williams, PsyD (“Williams Decl.”) at ¶3.) The existing policies only

              9 require custody checks for discharges from Mental Health Crisis Beds (“MHCBs”) and alternative

             10 housing (and as to alternative housing, only when clinically indicated). Id. The Memo also

             11 expands the existing policy to require that decisions to discontinue custody checks, made on

             12 weekends and holidays, must be made by a mental health clinician after a face-to-face assessment.

             13 Id. The existing policies do not require a face-to-face assessment on weekends and holidays. Id.

             14 Finally, the Memo introduces a new audit tool aimed at increasing compliance with the current

             15 Program Guide requirements. Id. Plaintiffs “welcome” and “support” these changes. (Decl. of

             16 Melissa Bentz (“Bentz Decl.”) ¶5, Ex. 1 (Ex. B at pp. 9-10).)

             17          The small workgroup discussed the Memo during several meetings, after which

             18 Defendants understood that members of the Special Master’s team concluded that the Memo was
             19 not a material modification to the Program Guide. Williams Decl. at ¶4.

             20          Following that assessment, Defendants’ internal team deleted certain non-substantive

             21 language from the Memo, which merely recited policy already included in the 2018 Program

             22 Guide that will remain there and continue in effect. Williams Decl. at ¶4. This revision aimed to

             23 make clear that the Memo did not supersede existing policy, but rather, highlighted updates to the

             24 form and introduced audit expectations. Id. The purpose of the revisions was to reduce confusion

             25 for people working in the field. Id.

             26          On August 9, 2021, Defendants provided the policy to the Special Master and Plaintiffs,

             27 requesting a decision as to materiality within fourteen days, consistent with the timelines in the

             28 court’s August 3, 2020 order, as modified by the Court’s June 24, 2021 order. Bentz Decl. at ¶3;
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              1 see ECF No. 7212. Later that day, certain members of the Special Master’s team objected to the

              2 deletions of the non-substantive language from the draft Memo. Williams Decl. at ¶5. Defendants

              3 withdrew the Memo the same day, however, upon further review, resubmitted the Memo without

              4 further modification on August 11, 2021. Bentz Decl. at ¶3. During the subsequent August 17 data

              5 meeting attended by all parties, Defendants understood that a member of the Special Master’s

              6 team again agreed that the Memo, as revised, was not a material modification. Bentz Decl. ¶4.

              7          Ultimately, following the 14-day period during which the Special Master must make a

              8 determination regarding materiality, the Special Master determined that the Memo does materially

              9 modify the Program Guide. Bentz Decl. at ¶5, Ex. 1 (Ex. D at pp. 21-22). The primary bases for

             10 the Special Master’s determination were that the Defendants voluntarily expanded services beyond

             11 the current Program Guide requirements and that the deleted language from the Memo removed

             12 critical provisions from prior policies. Id. Defendants disagree with the Special Master’s reasoning

             13 and his material modification finding and now seek the Court’s order on this Motion, resolving the

             14 matter pursuant to the process outlined in the Court’s August 3, 2020 Order. 1 See ECF 6806 at

             15 12:16-17:5.

             16 III.     THE MEMO IS NOT A MATERIAL MODIFICATION OF THE PROGRAM
                         GUIDE
             17
                         A.     The fundamental disagreement about the definition of “material modification”
             18                 must be addressed in order to resolve this dispute and prevent future
                                bottlenecking of the update process.
             19

             20          As a threshold issue, there is a fundamental disagreement about what constitutes a

             21 “material modification” to the Program Guide. In its August 3, 2020 Order, the Court declined to

             22 define what constitutes material modifications of the Program Guide, finding that “[i]n a case of

             23 this complexity, at this stage, ‘material modifications of the court-approved remedy’ are not

             24 susceptible to comprehensive definition.” ECF No. 6806 at 12, fn 8. The Court further stated that

             25

             26
                1
                  This Motion is not brought as a traditional motion for reconsideration under the Federal Rules of
             27 Civil Procedure, but rather, is brought for the Court to reconsider a determination by the Special

             28 Master pursuant to the process outlined in the Court’s August 3, 2020 order. See ECF 6806 at
                12:16-17:5. Accordingly, a de novo standard of review applies.
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              1 the Special Master’s experience, the parties’ good faith, and the “common sense application of the

              2 terms ‘material’ and ‘modification’ would be critical to development of a working definition of the

              3 phrase as understood and shared by all stakeholders.” Id. Unfortunately, over a year later, the

              4 parties have been unable to develop such a shared understanding and this fundamental

              5 disagreement is now thwarting progress.

              6          In order to resolve this dispute, there must be clarification and consensus on what it means,

              7 or at the very least, what it does not mean to “materially modify” the Program Guide. 2 As this

              8 Court’s August 3, 2020 order recognized, the Special Master wanted the update process to be

              9 required for “any proposed new or substantive amendments.” See ECF No. 6806, 2:1-8. The Court

             10 also observed that the Special Master himself was focused on whether a proposed regulation or

             11 policy “would revise the operative version” of the Program Guide. Id. at 7:20-22.

             12          But this Court refused to grant such a sweeping notice requirement, observing that the

             13 Court’s purpose was in large part, “‘the need to protect the court-ordered remedy to avoid material

             14 modification of the remedy through the state regulatory process and without approval by this court

             15 … .’” Id. at 5:5-7, quoting ECF No. 6214 at 15-16. Specifically, the Court sought to prevent

             16 Defendants from “rely[ing] solely on state law to take unilateral action that undermines” the

             17 remedy. ECF No. 6806, 10:22-25 (citing ECF No. 6639, citation omitted). So, instead of making

             18 just any “substantive” change to an existing Program Guide or Compendium component the
             19 standard, this Court limited the update process to those proposed regulations or policies that would

             20 “effect a material modification of the court-approved remedy.” Thus, viewed in context, this Court

             21 did not want the existing remedy to be undermined by state action without prior notice to the

             22 Special Master and Plaintiffs. The term “material modification” is one which undermines, i.e., has

             23 a material negative effect on the existing content of the Program Guide or Compendium at issue.

             24 See id. at 13:25-28 (stating that the purpose of the update process is to avoid new regulations or

             25 policies whose effect “conflicts” with the existing Program Guide/Compendium remedies).

             26

             27   2
                 Nothing set forth herein is intended to act as the forfeiture or voluntary relinquishment by
             28 Defendants of any grounds for objection to this Court’s August 3, 2020 order raised in
                Defendants’ opening brief or otherwise cognizable in Ninth Circuit Appeal No. 20-16734.
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              1          By contrast, the Special Master’s interpretations of “material modification” remain unclear.

              2 However, with respect to the Memo, the Special Master argues that Defendants’ voluntary

              3 expansion of services to Plaintiffs with no reduction of or conflict with the existing requirements

              4 of the Program Guide materially modifies the Program Guide. Defendants disagree for at least two

              5 reasons: 1) Defendants’ effort to go above and beyond the constitutional minimum in the Memo

              6 does not change the minimum level of care required by the Eighth Amendment; and 2) The

              7 Special Master’s interpretation is inconsistent with the Special Master’s experts’ determinations

              8 on this proposal, which makes such a definition unworkable and would disincentivize Defendants

              9 from voluntarily improving and expanding the services provided to Plaintiffs. See ECF No. 6806,

             10 14:8-10 (recognizing the need for Defendants to have “the latitude to make adjustments to …

             11 continue effective management of their prison and hospital systems.”).

             12          As to the first point, the Court has determined that the Program Guide establishes the

             13 constitutional minimum level of care. 3 See ECF No. 6806. The process outlined in the August 3,

             14 2020 order aims to prevent material modification of the Program Guide through the state policy

             15 and regulatory process without the Court’s approval. In other words, the Court approved a judicial

             16 oversight process to ensure that Defendants don’t alter the Program Guide in a way which would

             17 undermine the level of care required by the Constitution. Here, the Memo proposes an increase in

             18 services to the Plaintiff class and does not reduce the existing requirements in the Program Guide.
             19 Actions that Defendants take to improve their delivery of mental health care to the Plaintiff class,

             20 and that indisputably go above and beyond the constitutional minimum, can be taken at any time

             21 without court intervention. See Bell v. Wolfish, 441 U.S. 520, 562 (1979) (“[T]he inquiry of

             22 federal courts into prison management must be limited to the issue of whether a particular system

             23 violates any prohibition of the Constitution” (emphasis added)). Accordingly, Defendants’

             24 voluntary expansion of care beyond the contents of the Program Guide does not materially modify

             25

             26   3
                  As set forth in Defendants’ Response to the Special Master’s Report on the Proposed Processes
                for Updating the 2018 Program Guide Revision, State Regulations, and Changes to CDCR’s
             27 Department Operations Manual, Defendants maintain that the Program Guide does not set the

             28 standard for the constitutional minimum level of care required by the Eighth Amendment to the
                Constitution. See ECF No. 6506 at 4.
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              1 the Program Guide. This Court should overrule the Special Master’s determination that the Memo

              2 materially modifies the Program Guide.

              3          As to the second point, the Special Master’s argument that Defendants’ voluntary

              4 expansion of services materially modifies the Program Guide is inconsistent with his reasoning

              5 elsewhere. Here, the Special Master’s experts evaluated the Memo in the small workgroup over

              6 several meetings, concluding that it is not a material modification of the Program Guide.

              7 Subsequently, CDCR decided to strike certain language from the Memo to avoid confusion in the

              8 field and ensure that it was clear to providers that the policy in the 2018 Program Guide remains in

              9 place. Williams Decl. at ¶4. In other words, this language was deleted as it was merely repeating

             10 policy language from the 2016 and 2017 memos on Discharge Custody Checks, and those policies

             11 remain in place. Id. The Special Master’s experts then determined the Memo was, in fact, a

             12 material modification of the Program Guide, even though the proposed expansion of services

             13 (with no reduction to the existing Program Guide contents) was the same in both versions of the

             14 Memo. Yet, the Special Master states that the mere expansion of services constitutes a material

             15 modification to the 2018 Program Guide. Bentz Decl. at ¶5, Ex. 1 (Ex. D at pp. 21-22).

             16          This type of inconsistency and disagreement as to the definition of “materially modify” is

             17 unworkable and causing unnecessary delay. 4 If every improvement made by Defendants without

             18 any negative effect on the existing Program Guide nonetheless constitutes a “material
             19 modification” to the 2018 Program Guide, Defendants will be disincentivized against voluntarily

             20 improving services for fear of the delay the update process then causes, raising the constitutional

             21 floor the Program Guide purportedly establishes by such voluntary improvements, and then being

             22 held to that increased standard to demonstrate constitutional compliance. In other words, under the

             23 Special Master’s definition, everything Defendants might do to improve services to Plaintiffs will

             24

             25
                  4
                  The Special Master requires Defendants to put policies through the small workgroup for a
             26 determination of materiality before he issues his opinion. The problem with this process is
                highlighted here, where the Special Master then overrules the determination of his experts in the
             27 small workgroup, which has now happened twice. Defendants look forward to discussing how to

             28 best improve this process with Plaintiffs and the Special Master to avoid such inefficiencies in the
                future.
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              1 add to the Defendants’ Eight Amendment obligations because inclusion in the Program Guide is

              2 treated by this Court as the Eighth Amendment remedy. Such inclusion and expansion then only

              3 serve to expand monitoring and prolong the resolution of this case indefinitely. The disincentives

              4 that result under the Special Master’s interpretation of “material modification” are thus, plain to

              5 see and substantial. And if that is the definition, then Defendants’ incentive to expand services to

              6 Plaintiffs in ways having no negative effect on the Program Guide or Compendium will not just be

              7 chilled—it will be frozen.

              8          Moreover, under the Special Master’s interpretation, voluntary improvements would also

              9 be subject to the 14-step judicial preapproval process set forth in the August 3, 2020 order. See

             10 ECF No. 6806, 16:6-10, stating that “Any proposed change the Special Master determines would

             11 make a material modification of the remedy in this case shall proceed through the updating

             12 process below.” Thus, progress will continue to be bottlenecked as the parties will be required to

             13 spend months in negotiations (in this case, over something Plaintiffs have welcomed and

             14 recognized is an expansion, not a reduction of services), all while the implementation of such

             15 improvements is delayed. Such an interpretation of “material modification” will therefore have the

             16 perverse effect of discouraging voluntary improvement.

             17          To keep this process moving forward, the parties need a pragmatic definition of “material

             18 modification” that focuses on the universal goal of maintaining the level of care established by the
             19 Program Guide and Compendium. Accordingly, Defendants propose that a “material

             20 modification” of the Program Guide is a rule, policy, or regulation that adversely alters—i.e., may

             21 cause a substantial detrimental effect to—the base requirements in the Program Guide. This

             22 definition is consistent with the goals of this case—to improve the delivery of mental health care

             23 and ensure that inmate patients receive constitutionally adequate care—as well as case law, which

             24 requires federal courts to focus intervention and prospective relief on violations of the

             25 Constitution. See Bell, 441 U.S. at 562; 18 U.S.C. § 3626(a)(1)(A) (prospective relief may not be

             26 granted unless the court finds that it “extends no further than necessary to correct the violation of

             27 the Federal right”).

             28 / / /
                                                                   -7-
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              1          B.      The Memo does not adversely alter the base requirements in the Program
                                 Guide
              2

              3          Applying Defendants’ proposed definition reveals that the Memo is not a material

              4 modification of the Program Guide because it does not adversely alter the base requirements in the

              5 Program Guide. In fact, it does the opposite. The Memo expands custody checks from only

              6 MHCBs and alternative housing (where clinically indicated) to all patients discharged from any

              7 inpatient program or alternative housing after being admitted for suicidality. Bentz Decl., Ex. 1

              8 (Ex. A at pp. 5-7). The Memo also expands the requirement of face-to-face assessment by a

              9 mental health clinician for discontinuation of custody checks to apply to weekends and holidays.

             10 Id. These expansions increase the level of care provided to the Plaintiff class and Plaintiffs’

             11 counsel agree that they are a “welcome change.” Id. at ¶5, Ex. 1 (Ex. B at pp. 9-10). Moreover, the

             12 Plaintiff class will also benefit from the Memo’s addition of an audit tool aimed at increasing

             13 compliance with Program Guide requirements. Id. at Ex. 1 (Ex. A at pp. 5-8). Plaintiffs also

             14 “support” this new audit process. Id. at ¶5, Ex. 1 (Ex. B at pp. 9-10).

             15          Finally, the Special Master asserts that language regarding “custody responsibilities” and

             16 “clinical responsibilities” was deleted from the Memo and thus modifies the Program Guide. This

             17 is incorrect. An earlier draft of the Memo included language referencing existing sections of the

             18 Program Guide. See ECF No. 5864-1 at 378-380. This language was removed from the Memo
             19 after sending an earlier draft to the Special Master’s experts, but prior to sending a draft of it to the

             20 Special Master and the Plaintiffs because the language duplicates policy already in the Program

             21 Guide which remains unchanged and unaffected by the Memo. The substantive language detailing

             22 “custody responsibilities” and “clinical responsibilities” that the Special Master believes was

             23 deleted still exists in the current Program Guide and will continue to be part of the Program Guide,

             24 i.e., the remedy, regardless of the expanded services contemplated by the Memo. Williams Decl. at

             25 ¶4; see also Program Guide at ECF No. 5864-1 at 378-380. The Memo merely attempts to avoid

             26 confusing mental health providers in the field who may otherwise think that it replaces existing

             27 policies, which it does not. Thus, contrary to the Special Master’s assertions, the Memo does not

             28 materially modify the Program Guide.
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              1 IV.      CONCLUSION
              2          In order to resolve this dispute as well as prevent future litigation on this issue, the Court

              3 should adopt Defendants’ proposed definition of “material modification,” which is both pragmatic

              4 and aimed at ensuring continued constitutional-level care for the Plaintiff class. The Court should

              5 also reject the Special Master’s assertions that Defendants’ voluntary expansion of care, while

              6 maintaining fidelity to the contents of the Program Guide, materially modifies the Program Guide.

              7 The consequences of adopting the Special Master’s definition would be to discourage voluntary

              8 improvement of services to levels above and beyond the contents of the Program Guide, and a

              9 resulting bottleneck of the update process. Finally, the Court should overrule the Special Master’s

             10 determination that the Memo is a material modification of the Program Guide.

             11 V.       CERTIFICATION
             12          In preparing this motion, Defendants’ counsel reviewed the following Court orders

             13 relevant to the issues in this filing: ECF Nos. 6806 and 7212.

             14 DATED: August 30, 2021                                HANSON BRIDGETT LLP

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             16
                                                                By:          /s/ Samantha D. Wolff
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             24                                                              /s/ Damon McClain
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